IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

(44)
UNITED STATES OF AMERICA, CRIMINAL NO. 21-079€(BRP)
Plaintiff, and 22-205(FAB)
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Abraham Nelson-Brenes, 3 S OFFICE

Defendant. NOV -4 2022

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PLEA AND FORFEITURE AGREEMENT
TO THE HONORABLE COURT:

The United States of America, Defendant, Abraham Nelson Brenes, and
Defendant’s counsel, Carlos M. Sanchez-La Costa, Esq., pursuant to Federal Rule of
Criminal Procedure 11, state that they have reached a Plea Agreement, the terms and. UJ 5
conditions of which are as follows:

1. Charges to which Defendant will Plead Guilty
conn)

Defendant agrees to plead guilty to Count Two of Indictment 21-07 and
Count One of Indictment 22-205(FAB):

Count Two, Indictment 21-079( :

On or about March 15, 2021, and continuing to on or about March 16, 2021, in
the United States, in the District of Puerto Rico and within the jurisdiction of this
Court, [2] Abraham Nelson-Brenes and the co-defendants, did knowingly and
intentionally possess with intent to distribute five kilograms or more of a mixture and
substance containing a detectable amount of cocaine, a Schedule II Narcotic Drug

Controlled Substance in violation of 21 U.S.C. §§ 841(a)(1) & (b)(1)(A)Gi) and 846.

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Count One, Indictment 22-205(FAB):
From at least in or about the year 2020 and continuing up to and until March
16, 2021, in Puerto Rico, and elsewhere, and within the jurisdiction of this Court, [13]
Abraham Nelson-Brenes and the co-defendants, did knowingly and intentionally,
combine, conspire, and agree with each other, and other diverse persons, to commit
an offense against the United States, that is, to knowingly and intentionally possess
with intent to distribute five kilograms or more of a mixture and substance containing
a detectable amount of cocaine, a Schedule II Narcotic Drug Controlled Substance in
violation of 21 U.S.C. §§ 841(a)(1) & (b)(1)(A) Gi) and 846.
2. Stipulation as to the Amount of Narcotics
The United States of America and the defendant stipulate and agree that: as to aul
Count Two of Indictment 21-079 ) and Count One of Indictment 22-205(FAB),
the defendant shall be held accountable for conspiring to possess and possessing with
intent to distribute at least 2 kilograms but less than 3.5 kilograms of cocaine, a
Schedule II Narcotic Drug Controlled Substance.
3. Maximum Penalties
The naeceNUE statutory penalty for the offenses charged in Count Two of
Indictment 21-079¢ ) and Count One of Indictment 22-205(FAB), is a term of
imprisonment of not less than ten (10) years and not more than life; a fine not to exceed.

the greater of that authorized in accordance with the provisions of Title 18 or ten

million dollars (10,000,000); and a supervised release term of at least five (5) years, all

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pursuant to 21 U.S.C. §§ 841(a)(1) & (b)(1)(A)Gi) and 846.

However, the Defendant further understands that, based on the stipulated and
agreed amount of narcotics attributed to the Defendant as part of this plea agreement,
the penalty for the above-mentioned count of conviction is as follow: a term, of
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imprisonment of not less than five (5) years; a fine not to exceed thé greater of that
authorized in accordance with the provisions of Title 18 or five million dollars
(5,000,000); and a supervised release term of at least four (4) years, all pursuant to 21
U.S.C. §§ 841(a)(1) & (b)(1)(B) Gi) and 846.

4. Sentencing Guidelines Applicability
Defendant understands that the sentence will be imposed by the Court in
accordance with 18 U.S.C. § § 3551-86, and the United States Sentencing Guidelines
(hereinafter “Guidelines”), which are advisory pursuant to the United States Supreme
Court decision in United States v. Booker, 543 U.S. 220 (2005). Further, Defendant
acknowledges that parole has been abolished, and that the imposition of Defendant’s
sentence may not be suspended.
5. Special Monetary Assessment
Defendant agrees to pay a special monetary assessment (“SMA”) of one

hundred dollars ($100.00) per count of conviction. The SMA will be deposited in the

Crime Victim Fund, pursuant to 18 U.S.C. § 3013 (a)(2)(A).

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6. Fines and Restitution
The Court may, pursuant to Section 5E1.2 of the Guidelines order Defendant
to pay a fine. The Court may also impose restitution. Defendant agrees to execute and
make available, prior to sentencing, a standardized financial statement (OBD Form
500). The United States will advocate’on behalf of any identified victim and comply
with its obligations under the Mandatory Victim Restitution Act of 1996.
7. Sentence to be Determined by the Court
Defendant understands that the sentence to be imposed will be determined
solely by the United States District Judge. The United States cannot make and has not
made any promise or representation as to what sentence Defendant will receive. Any
discussions that the parties might have had about possible sentences are not binding in A NM $
any way on the Court, and do not constitute representations about what the parties
will seek, or what the actual sentence will be.
8. Recommended Sentencing Guidelines Calculations
After due consideration of the relevant factors enumerated in 18 U.S.C. §
3553(a), the United States and Defendant submit that the advisory Guidelines

calculations listed below apply to Defendant. However, Defendant acknowledges that

the Court is not required to accept those recommended Guidelines calculations.

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Count Two case 21-079 (DRD) and Count One case 22-205(FAB)
21 U.S.C. §§ 841(a)(1) & (b)(1)(B) (ii) and 846
Base Offense Level pursuant to U.S.S.G. § 2D1.1(c)(7) %6
Acceptance of Responsibility pursuant to U.S.S.G. §3E1.1 3
TOTAL ADJUSTED OFFENSE LEVEL 3
CH Cat. I | CH Cat. It] CH Cat. II} CH Cat.IV | CH Cat. V | CH Cat. VI
46-57 51-63 57-71 70-87 84-105 92-115

 

 

 

 

 

 

 

 

9. Sentence Recommendation
After due consideration of the relevant factors enumerated in 18 U.S.C.
§ 3553(a), the parties agree to request as to Count Two of Indictment 1019 Ce
and Count One of Indictment 22-205(FAB) a concurrent sentence of imprisonment of
60 months regardless of criminal history category. wr
The parties agree that any recommendation by either party for a term of
imprisonment below or above the stipulated sentence recommendation will constitute
a material breach of the Plea Agreement.
10. No Stipulation as to Criminal History Category
The parties do not stipulate as to any Criminal History Category for Defendant.
11. Waiver of Appeal
Defendant knowingly and voluntarily cab) that, if the imprisonment sentence

imposed by the Court for both cases, 21-079¢ and 22-205(FAB), is 60 months or

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less, Defendant waives the right to appeal any aspect of this case’s judgment and
sentence, including, but not limited to the term of imprisonment or probation,
restitution, fines, forfeiture, and the term and conditions of supervised release.
12. No Further Adjustments or Departures
The United States and Defendant agree that no further adjustments or
departures to Defendant’s total adjusted base offense level and no variant sentence
under 18 U.S.C. §3553—other than any explicitly provided for in this Plea
Agreement—shall be sought by Defendant. The parties agree that any request by
Defendant for an adjustment or departure that is not explicitly provided for in this Plea
Agreement will be considered a material breach of this Plea Agreement, and the
United States will be free to ask for any sentence, either guideline or statutory.
13. Satisfaction with Counsel
Defendant is satisfied with counsel, Carlos M. Sanchez-La Costa, Esq., and
asserts that counsel has rendered effective legal assistance.
14. Rights Surrendered by Defendant Through Guilty Plea
Defendant understands that by entering into this Plea Agreement, Defendant
surrenders and waives certain rights as detailed in this agreement. Defendant
understands that the rights of criminal defendants include the following:
a. If Defendant had persisted in a plea of not guilty to the charges,
Defendant would have had the right to a speedy jury trial with the

assistance of counsel. The trial may be conducted by a judge sitting
without a jury if Defendant, the United States and the judge agree.

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b. If a jury trial is conducted, the jury would be composed of twelve lay
persons selected at random. Defendant and Defendant’s attorney would
assist in selecting the jurors by removing prospective jurors for cause
where actual bias or other disqualification is shown, or by removing
prospective jurors without cause by exercising peremptory challenges.
The jury would have to agree, unanimously, before it could return a
verdict of either guilty or not guilty. The jury would be instructed that
Defendant is presumed innocent, that it could not convict Defendant
unless, after hearing all the evidence, it was persuaded of Defendant’s
guilt beyond a reasonable doubt, and that it was to consider each charge
separately.

c. Ifatrial is held by the judge without a jury, the judge would find the facts
and, after hearing all the evidence and considering each count separately,
determine whether or not the evidence established Defendant’s guilt
beyond a reasonable doubt.

d. At a trial, the United States would be required to present its witnesses
and other evidence against Defendant. Defendant would be able to
confront those witnesses and Defendant’s attorney would be able to
cross-examine them. In turn, Defendant could present witnesses and
other evidence on Defendant’s own behalf. If the witnesses for Defendant
would not appear voluntarily, Defendant could require their attendance
through the subpoena power of the Court.

e. Atatrial, Defendant could rely on the privilege against self-incrimination
to decline to testify, and no inference of guilt could be drawn from

Defendant’s refusal to testify. If Defendant desired to do so, Defendant
could testify on Defendant’s own behalf.

15. Stipulation of Facts
The accompanying Stipulation of Facts signed by Defendant is hereby
incorporated into this Plea Agreement. Defendant adopts the Stipulation of Facts and
agrees that the facts therein are accurate in every respect. Defendant agrees and accepts

that had the matter proceeded to trial, the United States would have proven those facts

beyond a reasonable doubt.

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16. Limitations of Plea Agreement
This Plea Agreement binds only the United States Attorney’s Office for the
District of Puerto Rico and Defendant. It does not bind any other federal district, state,
or local authorities.
17. Entirety of Plea Agreement
This written agreement constitutes the complete Plea Agreement between the
United States, Defendant, and Defendant’s counsel. The United States has made no
promises or representations except as set forth in writing in this Plea Agreement and
denies the existence of any other terms and conditions not stated herein.
18. Amendments to Plea Agreement
No other promises, terms or conditions will be entered into between the parties
unless they are in writing and signed by all parties.
19. Dismissal of Remaining Counts
At sentencing should there be any pending counts, and should the Defendant
comply with the terms of this Plea Agreement, the United States will move to dismiss
the remaining counts of the Indictment pending against Defendant in this case.
20. Voluntariness of Plea Agreement
Defendant acknowledges that no threats have been made against Defendant and
that Defendant is pleading guilty freely and voluntarily because Defendant is guilty.
21. Breach and Waiver

Defendant agrees that defendant will have breached this Plea Agreement if,

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after entering into this Plea Agreement, Defendant: (a) fails to perform or to fulfill
completely each and every one of Defendant’s obligations under this Plea Agreement;
(b) engages in any criminal activity prior to sentencing; or (c) attempts to withdraw
Defendant’s guilty plea. In the event of such a breach, the United States will be free
from its obligation under this Plea Agreement and Defendant will not have the right
to withdraw the guilty plea. Moreover, Defendant agrees that if Defendant is in breach
of the Plea Agreement, Defendant is deemed to have waived any objection to the

reinstatement of any charges under the Indictment, Information, or complaint which

may have previously been dismissed or which may have not been previously
prosecuted.
22. Potential Impact on Immigration Status

Pursuant to Federal Rule of Criminal Procedure 11(b)(1)(O), Defendant hereby
agrees and recognizes that if convicted, a Defendant who is not a United States citizen
may be removed from the United States, denied citizenship, and denied admission to
the United States in the future.

23. Felony Conviction

Defendant hereby agrees and recognizes that the plea of guilty in this case will

be recognized as a felony conviction, which will result in the loss of certain rights,
including but not limited to the right to vote in a federal election, to serve as a juror,

to hold public office, and to lawfully possess a firearm.

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24. Forfeiture Provision

Pursuant to 21 U.S.C. § 853, Defendant agrees to waive and forgo any interests
or claims of the following property, including, but not limited to $127,810 in U.S.
Currency seized on March 15, 2021.

Pursuant to this Plea Agreement, the defendant agrees to forfeit to the United
States any drug proceeds or substitute assets for that amount, which constitutes or is
derived from proceeds generated or traceable to the drug trafficking offense in violation
of 21 U.S.C. §841. Further, defendant shall forfeit to the United States any property
constituting, or derived from, proceeds obtained, directly or indirectly, as a result of
said violations and any property used, or intended to be used, in any manner or part,
to commit, or to facilitate the commission of the said violations. The defendant agrees
to identify all assets over which the defendant exercises or exercised control, directly
or indirectly, within the past three years, or in which the defendant has or had during
that time any financial interest. The defendant agrees to take all steps as requested by
the United States to obtain from any other parties by any lawful means any records of
assets owned at any time by the defendant. Defendant agrees to forfeit to the United
States all of the defendant's interests in any asset of a value of more than $1,000 that,
within the last three years, the defendant owned, or in which the defendant maintained
an interest, the ownership of which the defendant fails to disclose to the United States

in accordance with this agreement.

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Defendant further agrees to waive all interest in any such asset in any
administrative or judicial forfeiture proceeding, whether criminal or civil, state or
federal. Defendant agrees to consent to the entry of orders of forfeiture for such
property and waives the requirements of Federal Rules of Criminal Procedure 32.2
and 43(a) regarding notice of the forfeiture in the charging instrument, announcement
of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment.
Defendant acknowledges that the forfeiture of assets is part of the sentence that may
be imposed in this case and waives any failure by the court to advise Defendant of this,
pursuant to Rule 11(b)(1)(J), at the time Defendant’s guilty plea is accepted.

Defendant further agrees to waive all constitutional and statutory challenges in
any manner (including direct appeal, habeas corpus, or any other means) to any
forfeiture carried out in accordance with this Plea Agreement on any grounds,
including that the forfeiture constitutes an excessive fine or punishment. Defendant
agrees to take all steps as requested by the United States to pass clear title to forfeitable
assets to the United States, and to testify truthfully in any judicial forfeiture
proceeding. Defendant acknowledges that all property covered by this agreement is
subject to forfeiture as proceeds of illegal conduct, giving rise to forfeiture and/or
substitute assets for property otherwise subject to forfeiture.

Defendant, by agreeing to the forfeiture stated above, acknowledges that such
forfeiture is not grossly disproportionate to the gravity of the offense conduct to which
Defendant is pleading guilty. Defendant agrees that the forfeiture provisions of this

Plea Agreement are intended to and will survive Defendant, notwithstanding the

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abatement of any underlying criminal conviction after the execution of this agreement.
The forfeitability of any particular property pursuant to this agreement shall be
determined as if Defendant had survived, and that determination shall be binding upon
Defendant’s heirs, successors and assignees until the agreed forfeiture, including any

agreed money judgment, is collected in full.

W. Stephen Muldrow

United States Attorney || VJ

Teresa! $. Yalpata-Valladares C4rlos M. Sanchez-La Costa
Assistant U.S. Attorney Counsel for Defendant
Deputy Chief, Gang Section Dated: ! J—
Dated: ¢. lu<"bWw | |

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Richard-Vance Eaton Abraham Nelson-Brenes
Special Assistant/U.S. Attorney Defendant
Dated: ¥/ [ Dated: 09-/5 — 20293

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Camille Gatcia-J imériez

Assistant U.S. Attorney
Dated: SL JA] WPL

 

 

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UNDERSTANDING OF RIGHTS

I have consulted with counsel and fully understand all of my rights as to the
charges pending against me. Further, I have consulted with my attorney and fully
understand my rights as to the provisions of the Guidelines that may apply in my case.
I have read this Plea Agreement and carefully reviewed every part of it with my
attorney. My counsel has translated the Plea Agreement to me in the Spanish language
and I have no doubts as to the contents of the agreement. I fully understand this

agreement and voluntarily agree to it.

Date: _/5-09%- 202 Meal Date. ais

Abraham Nelson-Brenes
Defendant

I am the attorney for Defendant. I have fully explained Defendant’s rights to
Defendant with respect to the pending charges. Further, I have reviewed the applicable
provisions of the Guidelines and I have fully explained to Defendant the provisions of
those Guidelines that may apply in this case. I have carefully reviewed every part of
this Plea Agreement with Defendant. I have translated the Plea Agreement and
explained it in the Spanish language to the Defendant who has expressed having no
doubts as to the contents of the agreement. To my knowledge, Defendant is entering

into this Plea Agreement voluntarily, intelligently, and with full knowledge of all

consequences of Defendant’s plea of guilty. Al | \f
Date: ( A \\ \ 02 )—

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Counsel for Defendant

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STIPULATION OF FACTS

In conjunction with the submission of the accompanying Plea Agreement in
this case, the Defendant Abraham Nelson-Brenes admits that Defendant is guilty as
charged in the Indictment and admits the following:

Had this matter proceeded to trial, the United States would have presented
evidence through the testimony of witnesses as well as physical evidence and
documentary evidence, which would have proven beyond a reasonable doubt
Defendant’s guilt.

On March 15, 2021, agents were surveilling Abraham Nelson-Brenes’ residence
located at Jardines de Dorado, Gardenia Street D-14 in Dorado, Puerto Rico. An
individual arrived at the residence in a Ford E350 Van. The agents observed Nelson
helping two other individuals who were concealing kilograms of cocaine inside five-
gallon buckets. The buckets were then placed inside the van and moved to another
location. Nelson stayed at the residence.

On March 16, 2021, agents executed a search warrant on Nelson’s residence.
The agents found and seized, among other things, 35 kilograms of cocaine, ledgers,
$127,810 U.S. currency and firearms. All the items seized were found inside the co-
defendant’s bedroom.

Further investigation revealed that since October 2020, Nelson participated. in
a drug conspiracy that distributed more than 5 kilograms of cocaine. The object of the

conspiracy was the distribution of wholesale amounts of cocaine within Puerto Rico

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and the continental United States for financial gain and profit. Nelson specifically
invested money to buy kilograms of cocaine.

For purposes of this plea agreement, Abraham Nelson-Brenes admits that from
at least in or about October 2020 and continuing up to and until March 16, 2021, he
did knowingly and intentionally combine, conspire, and agree with others to commit
an offense against the United States, that is, to knowingly and intentionally possess
with intent to distribute at least 2 kilograms but less than 3.5 kilograms of cocaine.
Abraham Nelson-Brenes also accepts that he knowingly and intentionally possessed
with intent to distribute at least 2 kilograms but less than 3.5 kilograms of cocaine.

At trial, the United States would have proven beyond a reasonable doubt that
defendant Abraham Nelson-Brenes is guilty as charged in Count Two of Indictment

21-079 (DRD) and Count One of Indictment 22-205 (FAB). Discovery was timely

made available to Defendant for review. L iH) VW

€2Richard Van¢e Eaton Cakiés M. Sanchez-La Costa
Special Assistant U.S. Attorney Counsel for Defendant
Dated: _& | | ‘ Dated: 64 | LS i (2)

 

Camille Gércia- Jimenez, Abraham Nelson-Brenes
Assistant U.S. Attorney Defendant
Dated: 12 eee %. Dated: O09-/S5- 20227

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